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David S. Lin, State Bar No. 156110
LAW OFFICES OF DAVID S. LIN
Attorney at Law

80 S. Lake Ave., Suite 512
Pasadena, CA 91101

Telephone: 626.792.9688
Facsimile: 626.792.9116

Attorney for Defendants/Counter-Complainants,

ZHAOSHENG CHEN and YISHUN CHEN

IN THE UNITED STATES DISTRICT COURT

FOR THE CENTRIAL DISTRICT OF CALIFORNIA

BRIAN HOROWITZ and CREATIVE -

OUTDOOR DISTRIBUTORS USA,
INC.,

Plaintiffs,
Vv.
YISHUN CHEN, ZHAOSHENG
CHEN and YUE ZHANG,

Defendants.

 

ZHAOSHENG CHEN, an individual;
and YISHUN CHEN, an individual;

Counter-Claimant,
Vv.
BRIAN HOROWITZ and CREATIVE

OUTDOOR DISTRIBUTORS USA,
INC., and DOES 1-20, inclusive

Counter-Defendants.

 

 

Case No. 8:17-CV-00432 AG (JCGx)
Hon. Andrew J. Guilford, Judge Presiding

DEFENDANTS ZHAOSHENG CHEN AND
YISHUN CHEN’S FIRST AMENDED
COUNTERCLAIMS AGAINST
PLANTIFF/COUNTER-DEFENDANTS BRIAN
HOROWITZ AND CREATIVE OUTDOOR
DISTRIBUTORS USA, INC. FOR:

(1) DIRECT INFRINGEMENT OF THE 686
PATENT

(2) INDIRECT INFRINGEMENT OF THE 686
PATENT

(3) INVALIDATION OF THE 154 PATENT
(4) INVALIDATION OF THE 739 PATENT

DEMAND FOR JURY TRIAL

 

 

CHENS’ ANSWER AND COUNTERCLAIMS FOR DAMAGES

 
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COUNTER-CLAIMS

1. For their first amended counterclaims against Plaintiffs/Counter-Defendants BRIAN
HOROWITZ and CREATIVE OUTDOOR DISTRIBUTORS USA, INC., Defendants/Counter-
Claimants ZHAOSHENG CHEN and YISHUN CHEN (hereinafter “Counter Claimants CHENS”
allege as follows:

THE PARTIES

2. Counter Claimants CHENS are and were at all times relevant to this Action,
individuals residing in the County of Los Angeles, State of California.

3. Counter Claimants CHENS own and manage EVERYDAY SPORT, Inc., a California
Corporation, incorporated in the State of California and doing business in the County of Los
Angeles.

4. Plaintiff/Counter Defendant BRIAN HOROWITZ (“Counter Defendant
HOROWITZ”) is and was at all times relevant to this Action, an individual residing in the county
of Orange, State of California.

5. Plaintiff/Counter Defendant CREATIVE OUTDOOR DISTRIBUTORS USA, INC.

| (hereinafter “Counter.Defendant CREATIVE OUTDOOR’) is, and was at all times relevant to
this Action, a corporation incorporated in the State of California and doing business in the County
of Los Angeles, State of California. .

6. Upon information and belief, Counter Defendant HOROWITZ is the true owner of
Counter Defendant CREATIVE OUTDOOR as represented and admitted to by Counter
Defendant HOROWITZ himself to the U.S. Bankruptcy Court in a prior chapter 13 bankruptcy
filed in December 2014. A true and correct copy of Counter Defendant CREATIVE
OUTDOOR’s Chapter 13 Bankruptcy Petition is attached to this First Amended Counterclaim as
Exhibit A and is hereby incorporated by reference herein. [See Pages 3, 6, 7, 30, 38 to Exhibit A,
in particular, page 7, Counter Defendant HOROWITZ’s signed declaration attesting to be the
100% shareholder owner of Counter Defendant CREATIVE OUTDOOR.

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CHENS’ ANSWER AND COUNTERCLAIMS FOR DAMAGES

 
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7. Counter Claimants CHENS are ignorant of the true names and capacities of the Cross
Defendants as sued as DOES 1-20, inclusive, and therefore sue these Counter-Defendants by
these fictitious names. Counter Claimants CHENS will amend this Cross Complaint to allege
such Counter Defendants true names and capacities when the same have been ascertained.
Counter Claimants CHENS are informed and believes, and based thereon allege that, each of the
fictitiously named Counter Defendants is in some actionable manner legally responsible for the
acts alleged herein.

8. Counter Claimants CHENS are informed and believe, and based thereon allege that,
each of the Counter Defendants sued herein, whether named or named fictitiously was the agent,
employee, servant, principal, partner, or co-adventurer of each of the other Counter Defendants
and in doing the things herein alleged, was acting within the course and scope of said agency,
representation, employment or such other alleged capacity. The acts and conduct alleged herein of
each such Counter Defendants were known to, authorized and ratified by each and every
remaining Counter Defendants.

9. Whenever and wherever reference is made in these Counterclaims to any act or

||. failure to_act by. a Counter-Defendant or co-counter-defendant, such allegations and references

shall also be deemed to mean the acts and/or failures to act by each Counter-Defendant acting
individually, jointly and severally.
JURISDICTION AND VENUE

10. This Court has jurisdiction over these counterclaims pursuant to 28 U.S.C. §1331,
1338, 1367 and 2201.

11. This Court has personal jurisdiction over Counter-Defendants HOROWITZ and
CREATIVE OUTDOOR because they have subjected themselves to the jurisdiction of this Court
in this case by filing the Complaint.

12. Venue is proper in the Central District pursuant to 28 U.S.C §1391 (b) and (c) and/or
§1400 (b) because Counter-Defendants reside in this District and a substantial part of the events

giving rise to the counterclaims alleged herein occurred in this District.

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CHENS’ ANSWER AND COUNTERCLAIMS FOR DAMAGES
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CHENS’ INNOVATIONS

13. Counter-Claimant YISHUN CHEN was an engineer in mechanical design and has
been involved in designing merchandise goods and products in the past such as folding chairs and
folding wagons for over thirty years. Counter-Claimant ZHAOSHENG CHEN is the son of
YISHUN and assists YISHUN in the product designing process of their products, including their
wagon patent design of the 686 Patent, which they have been adjudicated to be the original
inventor and designer as well as the proper owner of said Patent.

14. In or about late 2006, Counter-Claimants CHENS developed a series of wagons,
which features a folding design, with a rear basket that could collapse and fold into a flatter form.
that could be more easily transported and stored.

15. This wagon design has a stowed position and an open position. The stowed position
is for transportation when it is empty. The open position is deployed when it is needed to carry .
weighted loads. |

16. The sides and bottom of the wagon design features diagonal folding members,
supplemental links, and horizontal flatbeds. These mechanisms to allow the wagon to change
from a folding position and stowed position. . 00. 2. |

17. The wagon design also features wheels and a pulling mechanism for transportation of
the wagon.

CHENS’ ASSERTED PATENTS

18. On or about October 10, 2008, U.S. Patent No. 8,011,686 (“the 686 Patent”), titled
FOLDING WAGON, was issued to Counter-Claimants CHENS. A true and correct copy of the
686 Patent is attached to this First Amended Counterclaim as Exhibit B and is hereby
incorporated by reference herein.

19. All rights, title, and interest in the 686 Patent have been assigned to Counter-
Claimants CHENS, who are the true and sole owners of the 686 Patent.

20. The 686 Patent is generally directed towards a folding wagon, with a folding frame

with a stowed position and an open position, and a central flatbed support joint folds upward

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CHENS’ ANSWER AND COUNTERCLAIMS FOR DAMAGES

 
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when the folding frame is being configured into stowed position, and the plurality of flatbed
supports are pivotally connected to the pair of front vertical supports and the pair of rear vertical
supports.

HOROWITZ’S FRAUDULENT CONDUCT

21. In or about May, 2008, Counter Claimants CHENS brought a sample of their wagon
and were approached by Counter Defendant HOROWITZ, who represented himself as the owner
of his former company, ON THE EDGE MARKETING, INC. At this meeting, Counter
Defendant HOROWITZ admired the design of the Counter Claimants CHENS’ folding wagon
and exchanged business cards. Counter Defendant HOROWITZ requested Counter Claimants
CHENS to schedule a visit to his company so he could potentially purchase Counter Claimants
CHENS’ folding wagons and do business with each other.

22. Shortly thereafter, Counter Claimants CHENS started to engage in a business relation
with Counter Defendant HOROWITZ in which HOROWITZ started to order wagons from
Counter Claimants CHENS and Counter Claimants CHENS became Counter Defendant
HOROWITZ’s wagon supplier for the CHENS’ wagon products, of whom HOROWITZ was a

.-customer of their-wagons. Counter Claimants CHENS subsequently entered into multiple. _......
distributorship contracts with Counter Defendant HOROWITZ and his prior company, BAM.

23. However, on or about early August 2011, Counter Defendant HOROWITZ
fraudulently duped and deceived Counter Claimants CHENS into signing off on two Assignment
Forms prepared by Counter Defendant HOROWITZ and his agents which sought to improperly
and fraudulently transfer Counter Claimant CHENS’ patent rights on their wagon patent
applications, including the one of which later became the 686 Patent, pursuant to the countless
lies and acts of fraudulent deception carried out by Counter Defendant HOROWITZ, which fraud
was discovered and uncovered by Counter Claimants CHENS in or about early 2012.

24. After discovery of Counter Defendant HOROWITZ’s fraudulent conduct, Counter
Claimants CHENS filed a state court Action in late 2012 in the Los Angeles County, Pomona

Superior Court, Case No. KC065334 against Defendants, including Counter Defendant

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CHENS’ ANSWER AND COUNTERCLAIMS FOR DAMAGES

 
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HOROWITZ, and his company, BAM, after attempts at informal resolution failed. Due to
Counter Defendant HOROWITZ’s multiple attempts to delay the trial of the state court action
through multiple avenues, including filing for personal bankruptcy in early 2013. The Trial in the
State Court Case was substantially delayed and thereafter, was not officially conducted and
concluded in a 2 week Trial until late August 2017. As set forth in the State Court’s Statement of
Decision issued after the State Court Trial, the State Court issued a verdict for damages in excess
of $4 million, including $2 million compensatory damages and $2 million punitive damages
against all Defendants, including Counter Defendant HOROWITZ personally, and ordered
Counter Defendant HOROWITZ to file and sign any necessary documents with the USPTO to
promptly transfer back proper title ownership of all involved wagon patents, including the 686
Patent which is at issue again in this Case, as improperly filed and re-alleged by Counter
Defendant HOROWITZ in this present Action filed against Counter Claimants CHENS.

25. On this basis as set forth in paragraphs 21 through 24, Counter Defendant
HOROWITZ is and was fully cognizant and aware of all details and claims of the 686 Patent
when he filed for Patents 9,145,154 and D748,7398S, on or about September 19, 2014 and

.. February 2, 2016, respectively. ve ee be ee

26. Upon information and belief, Counter Defendant HOROWITZ did not and failed to
disclose to the United States Patent and Trademarks Office (“USPTO”), certain information that
is and was material to patentability of the 154 and 739 Patents that is and was clearly known, or
should have been known, to Counter Defendant HOROWITZ, to wit, the details and claims of
Counter Claimant CHENS’ 686 Patent and potential infringement of his patents submitted for
approval to the USPTO at the time when he filed these two Patents, 154 and 739, as required and
mandated by 37 C.F.R §1.56(a), thereby constituting fraud and inequitable conduct in his

conscious and purposeful failure to do so.

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CHENS’ ANSWER AND COUNTERCLAIMS FOR DAMAGES

 
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HOROWITZ’S INVALID PATENTS

27. On or about September 19, 2014, U.S. Patent No. 9,145,154 (“the 154 Patent”), titled
FOLDING WAGON, was issued to Counter Defendant HOROWITZ. A true and correct copy of
the 154 Patent is hereby attached as Exhibit C, and is hereby incorporated by reference herein.

28. The 154 Patent is generally directed towards a folding wagon, with a folding frame
with a stowed position and an open position, and a central flatbed support joint folds upward
when the folding frame is being configured into stowed position, and the plurality of flatbed
supports are pivotally connected to the pair of front vertical supports and the pair of rear vertical
supports.

29. Upon information and belief, and on that basis Counter Claimants allege that the 154
Patent lacks the requisite novelty to be properly patented. Each and every one of the 23 claims as
set forth in the 154 patent is either expressly or inherently described in the prior, properly filed
686 Patent owned by Counter Claimants CHENS.

30. As stated, upon information and belief, and on that basis Counter Claimants further
allege that Counter Defendant HOROWITZ did not disclose to the Patent Office information that
is. material to patentability that is and was known, or.should have been known to Counter. ...
Defendant HOROWITZ when he filed for the 154 patent, as required by 37 C.F.R §1.56(a),
thereby constituting fraud and inequitable conduct in his action undertaken, as set forth herein
through paragraphs 18 to 26. |

31. On or about February 2, 2016, U.S. Patent No. D748,739 (“the 739 Patent”), titled
FOLDING WAGON, was issued to Counter-Defendant HOROWITZ. A true and correct copy of
the 154 Patent is hereby attached as Exhibit C, and is hereby incorporated by reference herein.

32. The 739 Patent is generally directed towards a folding wagon, with an omamental
design. A true and correct copy of the 739 Patent is hereby attached as Exhibit D, and is hereby
incorporated by reference herein.

33. Upon information and belief, and on that basis Counter Claimants allege that the 739

Patent lacks the requisite novelty to be properly patented. Each and every of the one element as

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CHENS’ ANSWER AND COUNTERCLAIMS FOR DAMAGES

 
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- set forth in the 154 patent is either expressly or inherently described in the prior, properly filed
686 Patent owned by Counter Claimants CHENS.

34. A comparison of the 154 Patent and the 739 Patent, improperly filed by Counter
Defendant HOROWTIZ, to the Counter Claimant CHENS’ 686 Patent makes apparent that the
elements, composition, arrangement, layout, and appearance of the designs are substantially
similar.

35. A true and correct copy of a detailed comparison between Counter Claimants
CHEN’s original and properly filed 686 Patent and Counter Defendant HOROWITZ’s 154 Patent
is attached to this First Amended Counterclaim as Exhibit E and is hereby incorporated by
reference herein. |

36. As stated, upon information and belief, and on that basis Counter Claimants further
allege that Counter Defendant HOROWITZ did not disclose to the Patent Office information that
is material to patentability that is and was known, or should have been known to Counter
Defendant HOROWITZ when he filed for the 739 patent, as required by 37 C.F.R §1.56(a),
thereby constituting fraud and inequitable conduct in his action undertaken, as set forth herein
...through paragraphs 18 to 26... _..

CREATIVE OUTDOOR’S INFRINGING PRODUCTS

37. Counter Defendant CREATIVE OUTDOOR makes, uses, sells, offers to sell, and/or
imports into the United States and this District products and services that utilize the properly
patented inventions in Counter Claimant CHENS’s 686 Patent.

38. Counter Defendant CREATIVE OUTDOOR sells these infringing products on online
platforms such as Amazon.com and Ebay.com.

39. Attached hereto as Exhibit F is a list of hyperlinks to all products Counter Claimants
CHENS was able to find in their investigation conducted into the infringing products, they allege
is currently being sold improperly and wrongfully by Counter Defendant CREATIVE
OUTDOORS which products are infringing on the 686 Patent.

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CHENS’ ANSWER AND COUNTERCLAIMS FOR DAMAGES

 
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40. Upon information and belief and on that basis Counter Claimant CHENS allege that
there are still undiscovered infringing products Counter Defendant CREATIVE OUTDOOR are
selling, either in brick-and-mortar stores or on online platforms that directly infringes upon
Counter Claimant CHENS’ 686 Patent. Upon information and belief and on that basis Counter
Claimant CHENS allege that there are still undiscovered infringing products Counter Defendant
CREATIVE OUTDOOR have sold, as well in brick-and-mortar stores and other online platforms
that directly infringes upon Counter Claimant CHENS’ 686 Patent.

41. A comparison of the alleged Infringing Products and the 686 Patent makes apparent
that the elements, composition, arrangement, layout, and appearance of the designs are
substantially similar.

HOROWITZ’S ACTS OF INDIRECT INFRINGEMENT

42. Upon information and belief, Counter Defendant HOROWITZ is the true owner of
Counter Defendant CREATIVE OUTDOOR as represented and admitted to by HOROWITZ
himself in the U.S. bankruptcy petition filed in the prior chapter 13 bankruptcy filed by Counter
Defendant CREATIVE OUTDOOR in December 2014. (See Exhibit A Pages 3, 6, 7, 30, 38. In

.. such_ bankruptcy. papers filed, Counter Defendant HOROWITZ admits.to.be the sole owner and .

100% shareholder of CREATIVE OUTDOOR, see in particular page 7 or 49 of the Bankruptcy
Petition.) Upon information and belief, Counter-Defendant HOROWITZ owns and continues to
control Counter Defendant CREATIVE OUTDOOR despite contentious and misrepresentations
made to the contrary to this Court in this Action filed that CREATIVE OUTDOOR’s current
CEO and the alleged “owner” is Heather Smulson.

43. Upon information and belief, and on that basis Counter Claimants CHENS allege that
Counter Defendant HOROWITZ knowingly and actively aided and abetted the direct
infringement of the 686 Patent by CREATIVE OUTDOOR, by directing CREATIVE
OUTDOOR to make, use, sell, offer to sale, and/or import into the United States and this Districts
products and services that utilize the properly patented inventions in Counter Claimant CHENS’s

686 Patent.

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CHENS’ ANSWER AND COUNTERCLAIMS FOR DAMAGES

 
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COUNT ONE
Direct Infringement of the 686 Patent pursuant to 35 U.S.C. §271(a)

44. Counter Claimants CHENS incorporate reference of paragraphs 1 through 43 of this
Counterclaims as if fully set forth herein.

45. Counter Defendant CREATIVE OUTDOORS have infringed and continues to
infringe Claims 1 through 3 of the 686 Patent in violation of 35 U.S.C. §271(a).

46. Counter Defendant’s infringement is based upon literal infringement or infringement
under the doctrine of equivalents, or both.

47. Counter Defendants’ acts of making, using, importing, selling, and/or offering for
sale infringing products and services have been without the permission, consent, authorization, or
license of Counter Claimants CHENS.

48. Counter Defendant’s infringement includes, but is not limited to, the manufacture,
use, sale, importation and/or for sale of Defendant CREATIVE OUTDOORS’s products, as fully
set forth herein paragraphs 35 through 39.

COUNT TWO
........ Indirect Infringement of the 686 Patent pursuant to 35 U.S.C. §271(b) _.-.

49. Counter Claimants CHENS incorporate reference of paragraphs 1 through 48 of this
Counterclaims as fully set forth herein.

50. Counter Defendant HOROWITZ have induced and continues to induce infringement
of Claims 1 through 3 of the 686 Patent under 35 U.S.C. §271(b).

51. Counter Defendant HOROWITZ indirectly infringes the 686 Patent pursuant to 35
U.S.C. §271(b) by instructing, directing, and/or requiring others, including customers, purchasers,
users, and developers, to perform some of the steps of the method claims, either literally or under
the doctrine of equivalents, of the 686 Patent, where all the steps of the method claims are
performed by either Counter Defendant HOROWITZ or his customers, purchasers, users or

developers, or some combination thereof.

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CHENS’ ANSWER AND COUNTERCLAIMS FOR DAMAGES

 

 
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52. Counter Defendant HOROWITZ knowingly and actively aided and abetted the direct
infringement of the 686 Patent by instructing and encouraging its customers, purchasers, users
and developers to use the Accused Products. Such instructions and encouragement included, but
are not limited to, while acting as the officer, and then later, continues to control Counter
Defendant CREATIVE OUTDOOR via a non-disclosure agreement entered into with
CREATIVE OUTDOOR’s current CEO and the alleged “owner” Heather Smulson, instructing
and directing the making, using, importing, selling, and/or offering for sale of the infringing
products and services as have been made and undertaken without the permission, consent,
authorization, or license of Counter Claimants CHENS. |

| COUNT THREE
Declaration of Invalidity and Unenforceability of the 154 Patent

53. Counter Claimants CHENS incorporate reference of paragraphs 1 through 52 of this
Counterclaims as if fully set forth herein.

54. As a result of the acts described in the foregoing paragraphs, a substantial controversy

of sufficient immediacy and reality exists to warrant the issuance of a declaratory judgment

55. The 154 Patent lacks the requisite novelty as required by 35 U.S.C. §102. Every
single claim of the 154 Patent are found, either expressly or inherently described, in Counter
Claimant CHENS’ 686 Patent. (See Exhibit C.)

56. Upon information and belief, and on that basis Counter Claimants allege that Counter
Defendant HOROWITZ did not disclose to the Patent Office information that is material to
patentability that is known to Counter Defendant HOROWITZ when he filed for the 154 patent,
as required by 37 C.F.R §1.56(a), constituting fraud and inequitable conduct, as set forth herein
through paragraphs 18 to 21. Specifically, Defendant HOROWITZ filed a substantially similar
patent, the 154 Patent, after fraudulently deceiving Counter Claimants CHENS into signing off on
the two Assignment Forms, seeking to improperly and fraudulently transfer the ownership of the

patent, which later became the 686 Patent, to Counter Defendant HOROWITZ.

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CHENS’ ANSWER AND COUNTERCLAIMS FOR DAMAGES

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57. Therefore, Counter Claimant CHENS are properly and legally entitled to a
declaratory judgment that they have not infringed and do not infringe, directly or indirectly, any
valid and enforceable claim of the 154 Patent.

58. Counter Claimant CHENS are also entitled to a declaratory judgment that the 154
patent is invalid because the 154 Patent does not meet the novelty requirement as was as issued
because of Counter Defendant HOROWITZ?’s fraudulent and inequitable conduct, in light of its
infringement upon the 686 Patent.

COUNT FOUR
Declaration of Invalidity and Unenforceability of the 739 Patent

59. Counter Claimants CHENS incorporate reference of paragraphs | through 58 of this
Counterclaims as if fully set forth herein.

60. As a result of the acts described in the foregoing paragraphs, a substantial controversy
of sufficient immediacy and reality exists to warrant the issuance of a declaratory judgment
invalidating the 739 Patent.

61. The 739 Patent lacks the requisite novelty as required by 35 U.S.C. §102. Every
single claim. of the.739 Patent are found, either expressly or. inherently described, in Counter.
Claimant CHENS’ 686 Patent. (see Exhibit D)

62. Upon information and belief, and on that basis Counter Claimants allege that Counter
Defendant HOROWITZ did not disclose to the Patent Office information that is material to
patentability that is known to Counter Defendant HOROWITZ when he filed for the 154 patent,
as required by 37 C.F.R §1.56(a), constituting fraud and inequitable conduct, as set forth herein
through paragraphs 18 to 21. Specifically, Defendant HOROWITZ filed a substantially similar
patent, the 739 Patent, after fraudulently deceiving Counter Claimants CHENS into signing off on
the two Assignment Forms, seeking to improperly and fraudulently transfer the ownership of the

patent, which later became the 686 Patent, to Counter Defendant HOROWITZ.

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CHENS’ ANSWER AND COUNTERCLAIMS FOR DAMAGES

 
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63. Therefore, Counter Claimant CHENS are properly and legally entitled to a
declaratory judgment that they have not infringed and do not infringe, directly or indirectly, any
valid and enforceable claim of the 739 Patent.

64. Counter Claimant CHENS are also entitled to a declaratory judgment that the 154
patent is invalid because the 739 Patent does not meet the novelty requirement as was as issued
because of Counter Defendant HOROWITZ’s fraudulent and inequitable conduct, in light of its
infringement upon the 686 Patent.

PRAYER FOR RELIF
WHEREFORE, Counter Claimants YISHUN CHEN and ZHAOSHENG CHEN pray for
judgment and relief as follows:
A. Anentry of judgment holding that Defendants have infringed and is infringing upon
the 686 Patent, and have induced infringement and is inducing infringement of the 686 Patent.
B. A preliminary and permanent injunction against Defendants and their officers,
employees, agents, servants, attorneys, instrumentalities, and/or in privity with them, from

infringing the 686 Patent, or inducing the infringement of the 686 Patent, and for all further and

| .proper.injunctive relief pursuant to.35 U.S.C. §283.. 000. 22 ee

C. An award to Counter Claimants CHENS of such past damages, not less than a
reasonable royalty, as it shall prove at the time of Trial against Defendants that is adequate to
fully compensate Counter Claimants CHENS for Defendants’ infringement of the 686 Patent.

- D. A determination that Defendants’ infringement has been willful, wanton, and
deliberate and that the damages against it be increase up to treble on this basis or for any other
basis in accordance with the law.

E. A finding that this case is “exceptional” and an award to Counter Claimants CHENS
of its coast and reasonable attorneys fees, as provided by 35 U.S.C. §285.

F. An accounting of all infringing sales and revenues, together with post judgment
interest and prejudgment interest from the first date of infringement of the 686 Patent,

G. A declaratory judgment invalidating Counter Defendant HOROWITZ’s 154 Patent.

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CHENS’ ANSWER AND COUNTERCLAIMS FOR DAMAGES

 
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H. A declaratory judgment that they have not infringed and does not infringe, directly or
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indirectly, any valid and enforceable claim of the 154 Patent.
3 .
I. A declaratory judgment invalidating Counter Defendant HOROWITZ’s 739 Patent.
4
J. A declaratory judgment that they have not infringed and does not infringe, directly or
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indirectly, any valid and enforceable claim of the 739 Patent.
6
K. Any other such further and other relief this Court may deem just and proper.
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DEMAND OF JURY TRIAL
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Counter-Claimant ZHAOSHENG CHEN and YISHUN CHEN hereby and demand a Jury
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Trial in this Action. .
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Dated: June 1, 2018
13 LAW OFFICES OF DAVID S. LIN
14 By /s/ David S. Lin
15 David S. Lin, Esq.
Attorneys for Defendants/Counter Claimants
16 YISHUN CHEN and
~ ZHAOSHENG CHEN ---) =
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CHENS’ ANSWER AND COUNTERCLAIMS FOR DAMAGES

 

 
